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    EXHIBIT E




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                      DECLARATION OF H. STAN JOHNSON
       IN SUPPORT OF EXPEDITORS INTERNATIONAL OF WASHINGTON, INC.’S
                      MOTION FOR ADEQUATE PROTECTION
                  AND FOR RELIEF FROM THE AUTOMATIC STAY


               I, H. STAN JOHNSON, hereby declare under penalty of perjury, as follows:

               1.      I am a member of the firm of Cohen Johnson Parker Edwards, attorneys

for Expeditors International of Washington, Inc., (“Expeditors”). I am fully familiar with the

facts set forth below based upon personal knowledge, a review of documents, and pleadings in

this case.

               2.      I make this declaration to attach documents and evidence in support of

Expeditors’ Motion for Adequate Protection and For Relief from the Automatic Stay (the

"Adequate Protection Motion").

               3.      Attached as Exhibit A to the Adequate Protection Motion is a true and

correct copy of Gump’s by Mail, Inc’s Application for Credit.

               4.      Attached as Exhibit B to the Adequate Protection Motion is a true and

correct copy of bills of lading issued by Expeditors.

               5.      Attached as Exhibit C to the Adequate Protection Motion is a true and

correct copy of the Declaration of H. Stan Johnson.

               6.      Attached as Exhibit D to the Adequate Protection Motion is a true and

correct copy of the Declaration of Matt Littleton.

                I declare under penalties of perjury that the foregoing is true and correct.

Executed on September 4, 2018




                                                        /s/ H. Stan Johnson________
                                                        H. STAN JOHNSON, ESQ.
